       Case
AO 472 (Rev.    5:07-cr-50104-SMH-MLH
             3/86) Order of Detention Pending Trial                 Document 10             Filed 10/01/07            Page 1 of 1 PageID #:
      U.S. D istrict Court                                                 33
Western District of Louisiana
 Rob ert H. Shem well, Clerk
        RECEIVED                                   UNITED STATES DISTRICT COURT
Date:   10-01-07
By       M . Cassanova
                                                         WESTERN DISTRICT OF LOUISIANA

           UNITED STATES OF AMERICA                                                                  ORDER OF DETENTION PENDING TRIAL
                  V.

                       CHARLES LARO Y BUTLER                                                       CASE NO.            07-5144M-01
                       Defendant


      In accordance with the Bail Reform Act, 18 U .S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the detention
of the defendant pending trial in this case.
                                                                  Part I - Findings of Fact

[ ] (1) The defendan t is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a (federal offense) (state or local offense that
        would have been a federal offense if a circumstan ce giving rise to federal jurisdiction had existed) that is
        [ ]     a crime of violence as defined in 18 U.S.C . § 3145(a)(4).
        [ ]     an offense for which the maximum sentence is life imprisonment or death.
        [ ]     an offense for which a maximum term of imprisonment of ten years or more is prescribed in
        [ ]     a felony was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)(A )(C),
                or comparable state or local offenses.
[ ] (2) The offense described in finding (1) was committed w hile the defendant w as on release pending trial for a federal, state, or local offense.
[ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for the offense described
        in finding (1).
[ ] (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the safety of
        (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.

                                                                        Alternative Findings (A)

[X ] (1) There is probable cause to believe that the defendant has comm itted an offense

           [X ]    for which a maximum term of imprisonment of ten years or more is prescribed in                The C ontrolled Substances Act                    .
           [ ]     under 18 U .S.C. § 924(c).

[X ] (2) The defendant has not rebutted the presumption established by finding 1 that no con dition or com bination of conditions w ill reasonably
         assure the appearance of the defendant as required and the safety of the community.

                                                                        Alternative Findings (B)

[ ] (1) There is a serious risk that the defendant w ill not appear.

[X ] (2) There is a serious risk that the defendant will endanger the safety of another person or the community.
  The Government presented strong evidence that Defendant's drug trafficking activities render him a danger to the community.


                                                       Part II - Written Statement of Reasons for Detention

     I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
 Defendant is charged in a conspiracy to possess a large amount of cocaine with the intent to distribute. The government presented strong
 evidence that he was the driver of a car in wh ich a suitcase on the rear seat was found to contain approxim ately 10.9 kilograms of a white
 substance which tested positive for the presence of cocaine. The court finds that Defendant's past criminal history, including a felony drug
 conviction, w eapons charges, and dom estic vio lence, and D efendant's drug traffickin g activities, ren der him a danger to the comm unity .
 There are no conditions of bond that the court could impose which would reasonably assure the safety of the community.

                                                           Part III - Directions Regarding Detention
      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity
for private consultation with defense counsel. On order of court of the United States or on request of an attorney for the Government, the person in charge of the
corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance in connection with a court proceeding.

Date:         October 03, 2007


*Inse rt as app licab le:
(a) Contro lled Substan ces Act (21 U .S.C. § 8 01 et seq.);
(b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or
(c) Sec tion 1 of Act of Se pt. 15 , 198 0 (21 U.S .C. § 955 a.)
